                     EXHIBIT D




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                                                                     Claimant
                                                           Nicholas del Rosso
                                                                         First
                                                              7..f June 2019


 IN THE HIGH COURT OF JUSTICE                      Claim No. HC-2016-002798

 BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES

 BUSINESS LIST (ChD)

 BETWEEN:



                RAS AL KHAIMAH INVESTMENT AUTHORITY

                                                                      Claimant

                                      -and-



                               FARHAD AZIMA

                                                                    Defendant




             WITNESS STATEMENT OF NICHOLAS DEL ROSSO




 I, NICHOLAS DEL ROSSO, of 1340 Environ Way, Chapel Hill, North Carolina,
 27517 USA WILL SAY as follows:

 1. I am the President and owner of Vital Management Services Inc. of the above
    address ("VMS"). VMS provides consulting services to law firms and
    businesses engaged in investigating or evaluating suspected fraud. I make
    this witness statement at the request of the Claimant, Ras Al Khaimah
    Investment Authority ("RAKIA").




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 2. Save insofar as is stated otherwise, the facts set out below are within my own
    knowledge or are derived from other sources or documents that I have seen
    and which in all cases I believe to be true. Where any facts are not within my
    knowledge, the source of those facts is stated.


 3. As some time has elapsed, I do not have a precise recollection of the exact
    dates and times certain of the events I refer to occurred. I have refreshed my
    memory by reference to emails that I sent or received in the relevant period. I
    refer to some of these documents below by reference to their disclosure ID
    number (contained in curly brackets { }).


 4. In August 2014, VMS was engaged by Dechert LLP to investigate assets
    potentially stolen from the Government of Ras Al Khaimah ("RAK"). Pursuant
    to its engagement VMS examined potential frauds committed by, amongst
    others, Khater Massaad. I took my instructions from Dechert LLP, and had
    limited direct contact with Jamie Buchanan and other representatives of the
    RAK government. I had worked previously with other lawyers then at Dechert
    LLP on unrelated matters involving suspected fraud.


 5. In early August 2016, I received a telephone call from Neil Gerrard of
    Dechert. During that call, Neil told me that Stuart Page had identified two links
    on the Internet which appeared to contain data relating to Farhad Azima, an
    associate of Khater Massaad. I do not know Stuart Page but I had heard of
    him because he works in a similar industry to me.


 6. When Neil and I spoke, he asked if VMS could assist in retrieving the data
    that had been found, or if VMS could engage a suitable forensic data
    specialist to do so. He then dictated to me over the phone the details of the
    two links where the information could be found. I do recall Neil warned me
    that the material could contain viruses.


 7. I do not recall the exact date of this call but I do remember that it was very
    early in the morning in North Carolina where I live. Neil knows that I get up
    early. I also recall that I set things in motion the same day. I saw this as a




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     commercial opportunity and I was concerned that Neil might have also asked
     others if they could access the material. I have seen an email from me to Rich
     Garcia at Northern Technology, Inc. ("NTi") (which was later engaged to
     download the material as explained below) timed at 10.28am on 9 August
     2016 referring to an introductory call {RAK0001941}. I think that I would have
     sent the email shortly after receiving Neil's call, which I believe must therefore
     have been on 9 August 2016.


 8. Chris Swecker is a former Assistant Director of the FBI and VMS's attorney. I
     regularly instruct subcontractors through Chris to ensure that engagements
     are properly documented and so that, where applicable, legal privilege is
     maintained. Following Neil's call, I called Chris to ask for recommendations of
     who might be able to help download this material, given the warning about
     viruses that Neil had given me. Chris recommended that I contact Rich
     Garcia at NTi. I believe that Chris mentioned other potential experts but was
     concerned that this project might be too small a piece of work for some of the
     more prominent companies engaged in cyber matters. I also understand that
     Rich Garcia, who was the CEO of NTi, and Chris had worked together at the
     FBI.


 9. Following Chris's recommendation, I spoke to Rich Garcia. Rich Garcia told
     me that NTi had the necessary expertise I was looking for. I have seen an
     email exchange between me and Chris starting at 11.47am on 9 August 2016
     which confirms that VMS sought to engage NTi immediately {RAK0001944}.


 10. In that email I confirm to Chris that I had given Rich the two web addresses:
     https://thepiratebay.org/torrent/15484452 and https://monova.orq/42248895.
     These were the addresses that Neil had given to me in our phone
     conversation. I note that my email says that I had told Rich that "as recently
     as last week — we were advised by researchers that a deep web search
     indicated that data relating to Farhad Azima was on a site..." and that "In
     addition, over this past weekend, we were told that another site...". I recall
     that these statements were reports of information that Neil had told me during
     our call.



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 11. I have seen an email from me to Chris Swecker on 12 August 2016 at 7.54pm
     in which I provide him with two additional sites from a Google search referring
     to "Farhad Azima of the Aviation Leasing Group Exposed' {RAK0001946}.
     These were Google searches that I had performed myself, earlier that day. I
     assumed the content of these new sites was related to the two original sites
     that Neil had given me.


 12.1 have seen an email exchange between Neil Gerrard and I on 15 August
     2016 which starts with Neil stating "I've had another call from Stuart who
     confirms again that there is a website on FA. He seems to think it's been
     generated from a UAE source. I've asked for details..." {RAK0001949}.           I
     responded confirming that VMS had instructed NTi to search and recover
     what may have been on them. I also asked how it was known that the site
     was set up in the UAE. Neil confirmed in response that he did not know and
     that he would ask. I do not recall ever following up this inquiry with Neil or
     hearing more from him on where the sites might have originated from.


 13. On Tuesday 23 August 2016 at 9.33am I received an email from Rich Garcia
     confirming that NTi would provide some of the data to me by Wednesday
     {RAK0001958}. He explained some of the difficulties of downloading data
     from this particular torrent file. I had no prior knowledge of or experience with
     such things.


 14.1 received a follow up email later that day from Rich confirming that his
     analyst Jess Gray had been successful with the download and could provide
     the material on some type of secure "drop box" file {RAK0001959}. In fact
     NTi sent me a drive by FedEx as was confirmed in an email the following
     morning on 24 August 2016 {RAK0001962}. I was flying to London that day
     for a meeting at Dechert so I had the drive delivered to me together with a
     copy for Dechert. I do not recall who I gave the copy to at Dechert. It would
     have been either Neil Gerrard or one of his associates.


 15.1 have seen an email dated 1 September 2016 from me to Chris Swecker,
     Rich Garcia and Jess Gray at 7.46am entitled "Update — New Data"


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    {RAK0001980}. In this email I state that the "client's 'spotter' in Dubai has
    reported a new data dump." I do not clearly recall how I learned of this but I
    believe it was Neil or one of his associates who told me. I do not remember
    being told the identity of the "spotter". I assumed it was a reference to Stuart
    Page. I note that in this email I also referred to another "message" and
    explained that I could not open it (due to lack of signal) to give them the link. I
    do not recall the means by which I received the other "message" but, after a
    thorough search of my documents and devices, I have not found any records
    matching its description.


 16. The following day on Friday 2 September 2016 at 10.21am I sent a further
    email to Jess Gray, Rich Garcia and Chris Swecker providing them with
    details     of      the      additional       sites     I      had       received:
    seedpeer.eu/details/11679969/Fraud-between-Farhad-Azima-and-jay-
    Solomon.html and 1337x.to/torrent/1756315/Fraud-between-Farhad-Azima-
    and-Jay-Solomon.html {RAK0001982}. Again, I described these as having
    come in from Dubai. I believe that was a reference to them having possibly
    come from Stuart Page, who I believed to be based in the UAE.


 17. On 8 September 2016 Jess Gray confirmed to me by email that she had been
    able to download the data from "the newest torrent release" {RAK0001966}.
    She confirmed in this email that she would provide the new data on drives. I
    do not recall exactly how these drives were delivered to me or Dechert.


 18. On 9 September 2016 I received a further email from Jess Gray confirming
    that she had received an alert about a new torrent data dump
    {RAK0001970}.       I responded to her email querying whether this was a
    different set of data from the one she had recently downloaded. I also gave
    her instructions to begin the process of retrieving it from the web. She
    responded to confirm that it was "an entirely new data dump". On the same
    day I informed Neil Gerrard by email about NTi's discovery and confirmed
    that I had instructed NTi to try to recover the new set of data {RAK0001972}.




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 19. NTi were able to download and preserve this further cache of data that they
     had identified. I know that at some point NTi made the third tranche of data
     available to me but 1 do not recall exactly when or how.


 20.1 understand that Mr Azima alleges that RAKIA is responsible for hacking his
     computers and uploading his data to the internet. For the avoidance of doubt,
     I did not hack Mr Azima's computers, cause him to be hacked or know who
     hacked him. I did not upload his data to the internet, cause his data to be
     uploaded or know who did upload his data.




 STATEMENT OF TRUTH

 I believe that he -ct stated                 Sta ment are true.

 Signed

 NICHOLAS DEL RO =0




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